 Case 5:18-cv-00666-JGB-SP Document 22 Filed 02/05/19 Page 1 of 6 Page ID #:300



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11   ON SECOND PAGE]

12
13                           UNITED STATES DISTRICT COURT
14                          CENTRAL DISTRICT OF CALIFORNIA
15
     AMANDA GONZALEZ and                     Case No. 5:18-cv-00666-JGB-SP
16   AUDRIANA GONZALEZ on behalf
     of themselves, all others similarly
17   situated and on behalf of the general
     public,                                 STIPULATION AND PROPOSED
18                                           ORDER TO REVISE THE CIVIL
                    Plaintiffs,              TRIAL SCHEDULING ORDER
19
                       v.
20                                           Original Complaint filed: Feb. 27, 2018
     BURLINGTON COAT FACTORY                 FAC Filed: Oct. 1, 2018
21   WAREHOUSE CORPORATION and
     DOES 1 100,
22
                    Defendants.
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 Case 5:18-cv-00666-JGB-SP Document 22 Filed 02/05/19 Page 2 of 6 Page ID #:301



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     Attorneys for Defendant
 6   BURLINGTON COAT FACTORY WAREHOUSE
     CORPORATION
 7
 8
 9                                 STIPULATION AND ORDER
10           Plaintiffs,   AMANDA      GONZALEZ         and    AUDRIANA            GONZALEZ
11   (“Plaintiffs”), and Defendant, BURLINGTON COAT FACTORY WAREHOUSE
12   CORPORATION (“Defendant” or “Burlington”) (collectively, the “Parties”), by and
13   through their respective counsel of record, stipulate and agree as follows:
14           WHEREAS, the Parties have agreed that the Civil Trial Scheduling Order
15   (“Scheduling Order”) should be revised to focus efforts on a second mediation with
16   Jeff Ross, set for June 20, 2019, and to further focus efforts on meeting and conferring
17   in connection with marshaling the information and data necessary for settlement. The
18   parties are seeking this adjustment to the Scheduling Order due to an inadvertent error
19   in the data produced for the first mediation as well as issues experienced in gathering
20   the information and data for mediation. A discussion of the Parties’ efforts and
21   proposed scheduling amendment follows.
22           WHEREAS, Plaintiffs filed their Complaint on February 27, 2018. On March
23   29, 2018, Defendant filed an Answer and later removed this matter on April 2, 2018.
24   On October 1, 2018, Plaintiffs filed their First Amended Complaint.
25           WHEREAS, the Parties have diligently conducted discovery and continue to do
26   so in preparation for a second mediation. To that end, on May 25, 2018, Plaintiffs
27   propounded one set of special interrogatories and one set of demands for production
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     DB2/35885209.3                            2.
 Case 5:18-cv-00666-JGB-SP Document 22 Filed 02/05/19 Page 3 of 6 Page ID #:302



 1   of documents on Defendant as well as noticed the deposition of Defendant’s Person
 2   Most Knowledgeable witness.
 3           WHEREAS, on June 4, 2018, the Court entered a Scheduling Order. See Dkt.
 4   No.’s 10-11.
 5           WHEREAS, following the issuance of the Scheduling Order, the Parties met
 6   and conferred regarding the definition of the class—which affected Defendant’s
 7   responses to Plaintiffs’ discovery requests. After numerous conferences between
 8   counsel, the Parties were in the process of finalizing a class definition when Defendant
 9   sought to substitute its counsel on September 12, 2018.
10           WHEREAS, Defendant’s responses to Plaintiffs’ discovery requests were due
11   on September 17, 2018—only five days after Defendant substituted its Counsel. Given
12   this, Plaintiffs granted Defendant an additional extension to respond to Plaintiffs’
13   discovery requests.
14           WHEREAS, after additional meet and confer efforts, the Parties agreed on an
15   amendment to the class definition in the original complaint. On October 1, 2018, the
16   Court granted Plaintiffs’ leave to amend their complaint and a First Amended
17   Complaint was filed that same day. See Dkt. No.’s 16-17.
18           WHEREAS, the Court revised the Civil Trial Scheduling Order in order to
19   enable the Parties to focus their efforts on a realistic exploration of settlement at a
20   mediation on January 3, 2019. See Dkt. No. 19.
21           WHEREAS, in preparation for the first mediation, the parties exchanged data
22   and information. For example, on December 5, 2018, Defendant served a subpoena on
23   Ciera Staffing, LLC and obtained some documents and data for mediation.
24           WHEREAS, at the first mediation, the Parties found unintended flaws in the
25   data—most importantly, the number of shifts used in the Parties exposure analysis
26   was considerably inflated for many temporary workers which significantly impacted
27   the Parties’ ability to evaluate the case. As such, the Parties agreed to reschedule the
28   mediation in order to cull errors and obtain more trustworthy data.
     DB2/35885209.3                           3.
 Case 5:18-cv-00666-JGB-SP Document 22 Filed 02/05/19 Page 4 of 6 Page ID #:303



 1           WHEREAS, the Parties continue to prepare for a second mediation which is set
 2   for June 20, 2019—the first available date with a well-respected mediator, Jeff Ross.
 3   The parties also requested to be put on the waitlist should an earlier date become
 4   available.
 5           WHEREAS, Defendant continues to work with Ciera Staffing, LLC to obtain
 6   additional data.
 7           WHEREAS, the Parties believe that a realistic exploration of settlement will
 8   involve the production, review, and analysis of a substantial amount of additional data
 9   regarding thousands of putative class members. For example, the Parties have set out
10   to conduct the damages discovery necessary to support an informed damages
11   discussion at the mediation. The substantial amount of time needed to prepare the
12   matter for dispositive motions and Trial would interfere with the Parties’ ability to
13   devote the time needed to prepare the matter for settlement discussions at the second
14   scheduled mediation. Should the matter not settle at or around the mediation, the
15   matter will immediately proceed towards class certification and motions for summary
16   judgment. As such, the Parties respectfully request the Court continue the dates in the
17   Scheduling Order in light of the second mediation on June 20, 2019:
18           WHEREAS, the current Civil Trial Scheduling Order sets the dates as follows:
19               • Jury Trial set for September 3, 2019, 9:00 a.m.
20               • Final Pretrial Conference [L.R. 16] and hearing on Motions In Limine
21                    (Monday- 2 weeks before trial) set for August 19, 2019, 11:00 a.m.
22               • Last Date to Hear Non-discovery Motions set for July 8, 2019, 9:00 a.m.
23               • All Discovery Cut-off (including hearing all discovery motions) set for
24                    April 29, 2019
25               • Expert Disclosure (Rebuttal) set for April 15, 2019
26               • Expert Disclosure (Initial) set for March 29, 2019
27   See Order, October 24, 2018, Dkt. No. 19.
28   ///
     DB2/35885209.3                              4.
 Case 5:18-cv-00666-JGB-SP Document 22 Filed 02/05/19 Page 5 of 6 Page ID #:304



 1           NOW THEREFORE, the parties stipulate to and request that the Court order the
 2   following revised Civil Trial Scheduling Order:
 3               • Jury Trial set for March 3, 2020, 9:00 a.m.
 4               • Final Pretrial Conference [L.R. 16] and hearing on Motions In Limine
 5                    (Monday- 2 weeks before trial) set for February 17, 2020, 11:00 a.m.
 6               • Last Date to Hear Non-discovery Motions set for January 6, 2020, 9:00
 7                    a.m.
 8               • All Discovery Cut-off (including hearing all discovery motions) set for
 9                    October 28, 2019
10               • Expert Disclosure (Rebuttal) set for October 14, 2019
11               • Expert Disclosure (Initial) set for September 27, 2019
12           The Parties submit that good cause exists to continue the dates within the
13   Scheduling Order. This is the second request for a continuance. The first continuance
14   was based on the Parties’ need to marshal data for mediation, data which inadvertently
15   turned out to be inaccurate. The Parties have vigorously litigated the case and are
16   actively preparing for settlement discussions. Additional time is necessary for the
17   Parties to focus on preparing for the upcoming second mediation.
18           IT IS SO STIPULATED.
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 Case 5:18-cv-00666-JGB-SP Document 22 Filed 02/05/19 Page 6 of 6 Page ID #:305



 1
      Dated: February 5, 2019
 2
 3                                             /s/Tony Roberts
                                               David Mara
 4                                             Jamie Serb
                                               Tony Roberts
 5                                             THE TURLEY & MARA LAW FIRM, APLC
                                               Attorneys for Plaintiffs AMANDA
 6                                             GONZALEZ and AUDRIANA GONZALEZ
 7   Dated: February 5, 2019
 8
                                                /s/ Carrie Gonell (with permission)
 9                                              Carrie A. Gonell
                                                Samuel S. Sadeghi
10                                              MORGAN, LEWIS & BOCKIUS LLP
                                                Attorneys for Defendant
11                                              BURLINGTON COAT FACTORY
                                                WAREHOUSE CORPORATION
12
                        ATTESTATION REGARDING SIGNATURES
13
             I, Tony Roberts, attest pursuant to L.R. 5-4.3.4 that all signatories listed, and on
14
     those behalf the filing is submitted, concur in the filing’s content and have authorized
15
     the filing.
16
17   DATED: February 5, 2019                     /s/ Tony Roberts
18                                               Tony Roberts

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